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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 AMERICAN ASSOCIATION FOR JUSTICE                           )
          Plaintiff,                                        )
                                                            )
         v.                                                 )
                                                            )
 CERTAIN UNDERWRITERS AT LLOYD’S                            ) Case No. 1:21-cv-00847-JDB
 LONDON SUBSCRIBING TO                                      )
 SHOWSTOPPERS POLICY CERTIFICATE                            )
 NO. CR0314627, SPECIFICALLY                                )
 SYNDICATES 2623, 0623, 033, AND 4141                       )
            Defendants.                                     )
                                                            )
                                                            )

  JOINT NOTICE OF SETTLEMENT IN PRINCIPLE AND REQUEST TO VACATE
                    CASE MANAGEMENT DEADLINES

       Plaintiff American Association for Justice (“AAJ”) and Defendants Certain Underwriters

at Lloyd’s London Subscribing to Showstoppers Policy Certification No. CR0214627

(“Underwriters”) jointly wish to inform the Court that the parties have reached a settlement in

principle of the above-captioned action. The parties are in the process of drafting a settlement

agreement to reflect the final terms, which the parties will finalize in the next thirty (30) days. The

parties jointly request that the Court vacate the current scheduling order and all other upcoming

hearings and deadlines, and hold in abeyance all pending motions. AAJ will file a dismissal with

prejudice of this matter upon the completion of the settlement process.

       Respectfully submitted, this 1st day of December, 2021.

               [Signatures on following pages]
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                               CERTIFICATE OF SERVICE

       I hereby certify that on December 1, 2021, a copy of the foregoing Notice of Settlement in

Principle and Request to Vacate Case Management Deadlines was filed electronically through the

Court’s CM/ECF System on the following:

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       This 1st day of December, 2021.

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